       Case 5:24-cv-00768-JKP-HJB Document 10 Filed 09/13/24 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

                                    September 13, 2024


Mark Anthony Ortega                     Plaintiff,

V.                                                                 5:24-cv-768-JKP

Elite Living Realty, LLC

              Defendant.

                                DEFAULT ENTRY BY CLERK

       It appearing from the records in the above entitled action that summons, issued on

Plaintiff’s Complaint, has been served upon the defendant(s) named below, and it further

appearing from the affidavit of counsel for plaintiff that defendant(s) has failed to plead or

otherwise defend in said action, as directed in said summons and as provided in the Federal

Rules of Civil Procedure:

      NOW, therefore, on request of counsel for plaintiff, the default of the following
named defendant(s) is hereby entered:

                                 ELITE LIVING REALITY, LLC

                                                      PHILLIP J. DEVLIN, CLERK
                                                     UNITED STATES DISTRICT COURT

                                             By:______________________________
                                                Monica Granados-Ramos, Deputy Clerk
